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UNITED STATES DlS'l`RICT COURT
M I DDLE DISTRICT OF FLORIDA
TAMPA DlVISION

SEALED UNIT PARTS CO., INC.,

.ludgment Creditor,

VS' Case No.: 8: l 7-mc-00109-CEl-l-AEP

SYCOM SURGE, INC. N/K/A BREN
'I`UCK, lNC.; MARK TUCKER; DAVID
ROSS BRENNAN; and TURNER
SOLUTIONS, INC.,

Judgment Debtors.
/

 

WRIT OF GARNISHMENT
To Garnishee:

Current Tenant

500 Treasure ls|and Causeway, Unit #305

Treasure Island, F|orida 33706

An application for Writ of Garnishment has been filed with this court to satisfy an unpaid
judgment in favor of Sealed Unit Parts Co., lnc., in the amount of $2,760,000.00, and interest in
the amount ol" $13,837.24, less payments in the amount ol` $255,000.00, for a total of`
$2,5 l 9,837.24 through October |2, 2017.

You are required by law to serve an answer to this Writ on Michael H. Moody, Esq.,
attorney for the .ludgment Creditor, Sealed Unit Parts Co., lnc., whose address is c/o Greenberg
Traurig, P.A., 101 E. College Avenue, Tallahassee, F|orida 32301, moodym@utlaw.com, within
twenty (20) days after service on the Garnishee, exclusive of the day of service, and to file the
original with the Clerk of this Court either before service on the attorney or immediately

theraf`ter, stating whether the Gamishee is indebted to any of the judgment debtors:

~ MR. I)Avn) Ross BRENNAN (ss# -8818)

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c MR. MARK TUCKER (ss# -60?3)

¢ SYCOM SURGE INC., NFKIA BREN TUCK, INC. (FEUE|N #: -8339)

- TURNER soLUTloNs, 1NC. (TIN #: -5154)
Al! ot`the foregoing the "Judgment chtors." Your answer shall state whether the Garnishec is
indebted to any ofthe .ludgment [)ebtors at the time 0[` the answer, 01‘ was indebted at the time 0[`
the service ol` the Writ, or at any time between such times. and what tangible and intangible
personal property ofthc Judgmcnt Debtors Garnishec has in his possession or control at the time
ofthc answer Or had at the time el the service Oi` this Writ, or at any time between such times,
and whether the Garnishee knows ot` any other person indebted to any Of the Jtldgment Debtors
or who may have any property ofthe Judgment Debtors.

For the avoidance of doubt. this writ of garnishment is intended to garnish all rents you
are obligated to pay to any Judgmcnt Debtor (specitically David Ross Brennan), which shall
lorthwith be paid directly 10 the Jtldgn‘lent Creditors care of l\/iichael l'l. Moody, Esq., Grcenberg
Tratn‘ig, P.A.. lUi E. Cellcgc A\'cnue. 'I`allahassee. F|orida 32301.

. WITNESS, Elizabeth M. Warren, Clerk ol` the United States District Court i`or the

n)oucmwt
Middlc District of`Floritla, on this |§`M day oneteber, 20|?.

By: QAZD how

Dcputy Clerk
rAL 452253303v1

